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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO

 ELVIS RAMON GREEN BERRIOS,                        CIVIL ACTION NO.: 3: 22-CV-01002-JAG

 PLAINTIFF
                                                   CIVIL JURY DEMANDED
   v.

 SIG SAUER, INC

 DEFENDANT

 PLAINTIFF’S INFORMATIVE MOTION AND REQUEST FOR AN ORDER REGARDING
                TRANSFER OF THE FIREARM TO U.S. MAINLAND


         TO THE HONORABLE COURT:

         COMES NOW, Plaintiff, Elvis Ramon Green Berrios, though the undersigned

attorneys, and respectfully informs, states, and prays as follows:

        1.    Plaintiff, requested an extension in order to culminate the expert witness

inspection of the firearm and the delivery of the expert witness report.

        2.    The 7 additional depositions were scheduled for February 1 and 2, 2023.

         3.   As part of our diligent effort to move the Puerto Rico Police Bureau to produce

the firearm and deliver it to our expert witness facility in Chicago, Illinois, Brother counsel

Ricardo Izurieta visited the Firearm Deposit in the Puerto Rico Police Bureau, once it

opened after the Holiday recess. There he talked to the person in charge and explained the

process in hand and also indicated that our expert witness with Mr. Timothy Hicks has a FLL

license, also, talked to brother counsel Rangel (counsel for Defendant) in order to ask for

any help he can provide.

         4.   Brother counsel Izurieta was informed that only with a Court Order the firearm

SIG-SAUER P320 SN 58H014298 CAL. 9MM Black, and the casing recovered at the scene


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and analyzed by defendant could be delivered to this address: c/o Mr. Timothy Hicks,

Professional Analysis and Consulting, Inc.4951 Indiana Avenue, Suite 600 Lisle, IL 60532,

our expert witness facilities on January 31, 2023.

          5. Therefore we, in order to exclude any unreasonable delay and adversity with

     this process we are Respectfully Requesting an Order for that purpose.

      WHEREFORE, Plaintiff respectfully requests that this Honorable Court take notice of

this motion and grants the Order requested, in order for Plaintiffs to finish the expert

inspection and report to be notified to Defendants.

      RESPECTFULLY SUBMITTED.

      IT IS HEREBY CERTIFIED: that we have electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification to all

attorneys of record.

      In San Juan, Puerto Rico, this 27th day of January of 2023.


    DIAZ-IZURIETA LAWFIRM

    S/ RICARDO IZURIETA-ORTEGA
    USDC Bar No.: 124205
    Urb. Crown Hills Ave. Winston Churchill PMB 914 San Juan, P.R. 00926
    Tel. 787-531-9419
    Izurieta.ricardo@gmail.com
    S/ JOSE VLADIMIR DIAZ-TEJERA
    USDC Bar No.: 208604
    P.O. BOX 423
    Trujillo Alto, PR 00977
    Tel. 787-755-3440
    Diaz_tejera_lawfirm@yahoo.com




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